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                  United States Court of Appeals
                                FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                         ____________
No. 22-7168                                                    September Term, 2022
                                                                         1:22-cv-03357-CJN
                                                          Filed On: February 23, 2023
District of Columbia, et al.,

              Appellants

       v.

Kroger Co. and Albertsons Companies, Inc.,

              Appellees


       BEFORE:        Millett, Pillard, and Pan, Circuit Judges

                                            ORDER

       Upon consideration of the motions for summary affirmance, the opposition
thereto, and the replies; the responses to the court’s January 18, 2023 order; and the
motion to vacate, the oppositions thereto, and the reply, it is

        ORDERED that this appeal be dismissed as moot. Albertsons Companies, Inc.
has issued the dividend that appellants’ motion for a preliminary injunction sought to
enjoin, and therefore “intervening events [have made] it impossible for [this court] to
grant effectual relief to the prevailing party.” See Planned Parenthood of Wisconsin,
Inc. v. Azar, 942 F.3d 512, 516 (D.C. Cir. 2019) (internal quotation marks omitted). It is

      FURTHER ORDERED that the motions for summary affirmance be dismissed as
moot. It is

       FURTHER ORDERED that the case be remanded to the district court with
instructions to consider appellants’ request for vacatur as a motion for relief from an
order pursuant to Federal Rule of Civil Procedure 60(b). See U.S. Bancorp Mortg. Cor.
v. Bonner Mall Partnership, 513 U.S. 18, 29 (1994).
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No. 22-7168                                                September Term, 2022

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to issue the mandate forthwith to the district court.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Tatiana Magruder
                                                         Deputy Clerk




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